                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO
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UNITED STATES OF AMERICA,

               Plaintiff,

       vs.                                                                    1:20-cr-01370-KWR

JULIAN GARCIA, III,

               Defendant.

ORDER GRANTING IN PART AND DENYING IN PART GOVERNMENT’S MOTION
                           IN LIMINE

       THIS MATTER comes before the Court upon the Government’s Second Motion in Limine

(Doc. 61). The motion had multiple parts, and the Court granted the motion in part. Doc. 97. The

Court reserved ruling on subsections K and L of the motion. Id. The Court now addresses those

subsections.

I.     Subsection K: Contributory Negligence.

       In Subsection K, the Government sought to prevent the Defendant from arguing or

presenting evidence that the victim was contributorily negligent. Defendant objected. While

conceding that a contributory negligence argument has no place in a criminal trial, he asserted he

has the right to argue that he was not impaired and any impairment did not cause the accident. In

other words, Defendant contests both the intent element, recklessness, and the causation element.

       The Court agrees with Defendant that he should be allowed to contest whether he was

intoxicated and whether his intoxication caused the collision or injuries to the alleged victim. See

State v. Finch, No. 30,706, 2012 WL 5838727, at *4 (N.M. Ct. App. Oct. 30, 2012) (“Defendant

argues that the jury could have convicted Defendant because he was driving while intoxicated and
was the “but for” cause of the accident, without also finding that the intoxication, rather than

negligence or even error by the motorcyclist, caused the accident.”), citing State v. Munoz, 1998–

NMSC–041, ¶ 13, 126 N.M. 371, 970 P.2d 143 (“[T]he [s]tate had to make a causal connection

between [the d]efendant's actions and the fatal collision or else [the d]efendant was to be

acquitted.”); see State v. Sisneros, 42 N.M. 500, 505, 82 P.2d 274, 277 (1938) (discussing the

precursor to the current vehicular homicide statute and stating, “If the defendant killed [victim]

while committing the unlawful act of driving an automobile while under the influence of

intoxicating liquor, he is not guilty of manslaughter unless the commission of that unlawful act

was the proximate cause of the death of [victim].”).

       Similarly, for the assault charge, Defendant argues he will present evidence that he was not

intoxicated and did not have the requisite reckless intent. Rather, he appears to argue that the

victim was intoxicated and caused the collision. Generally, Defendant must be allowed to present

evidence relevant to the intent and causation elements.         The Court does not opine on the

admissibility of any specific evidence, as it is not currently before the Court.

       The Court concludes that evidence of the victim’s role in the collision may be relevant to

the intent element or causation. Therefore, any reference to the phrase “contributory negligence”

shall be excluded, but Defendant may present evidence and argument that the alleged victim

caused the accident, or Defendant was not reckless.

II.    Subsection L: Medical Records of Victim’s Blood Ethanol Level.

       Under subsection L, the Government seeks to exclude medical records indicating that the

victim was intoxicated, specifically evidence regarding the victim’s blood ethanol level recorded

at the hospital after the collision. The Government argues that the evidence is inadmissible




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hearsay, irrelevant, and violates the Victims’ Rights Act, 18 U.S.C. § 3771(a)(8). The Court

disagrees and will not exclude the medical records at this time.

        First, the Court is not prepared at this time to exclude the medical records under the hearsay

rule. Defendant did not specifically address the Government’s hearsay argument. See Doc. 85 at

3. The Government argues that the medical records are not admissible under FRE 803(4), because

they do not include a statement by the victim that is made for medical diagnosis or treatment. The

Court agrees with the Government that the medical records are not a statement by the victim made

for medical diagnosis or treatment, and therefore does not fall within hearsay exception FRE

803(4). This hearsay exception generally covers statements made by a patient during the course

of treatment, and Defendant has not argued or shown that it covers medical records not containing

a statement by a patient. United States v. McHorse, 179 F.3d 889, 900 (10th Cir. 1999) (“Jane Doe

E's out-of-court statements fell within the Rule 803(4) exception to the hearsay rule which applies

to statements made for purposes of medical diagnosis or treatment.”); United States v. Edward J.,

224 F.3d 1216, 1219 (10th Cir. 2000) (“The rationale behind the Rule 803(4) exception is that

because a patient's medical care depends on the accuracy of the information she provides, the

patient has a selfish motive to be truthful; consequently, a patient's statements to her physician are

likely to be particularly reliable.”).

        However, the medical records may be admissible under FRE 803(6), if the Defendant

makes the appropriate showing. Rule 803(6) of the Federal Rules of Evidence excepts from

hearsay:

        A record of an act, event, condition, opinion, or diagnosis if:

        (A) the record was made at or near the time by -- or from information transmitted
        by -- someone with knowledge;
        (B) the record was kept in the course of a regularly conducted activity of a business,
        organization, occupation, or calling, whether or not for profit;

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      (C) making the record was a regular practice of that activity;
      (D) all these conditions are shown by the testimony of the custodian or another
      qualified witness, or by a certification that complies with Rule 902(11) or (12) or
      with a statute permitting certification; and
      (E) the opponent does not show that the source of information or the method or
      circumstances of preparation indicate a lack of trustworthiness.
      Fed. R. Evid. 803(6) (bold in original).
“Medical records are admissible if they satisfy rule 803(6)'s requirements.” Walker v. Spina, No.

CV 17-0991 JB\SCY, 2019 WL 418420, at *2 (D.N.M. Feb. 1, 2019), citing Fed. R. Evid. 803

advisory committee's notes (explaining that “the rule specifically includes both diagnoses and

opinions, in addition to acts, events, and conditions, as proper subjects of admissible entries” to

“make clear” that “medical diagnoses, prognoses, and test results” are admissible).

       The medical records are clearly a record of a condition, opinion, or diagnosis, and may be

admissible if Defendant makes the requisite showing under FRE 803(6)(A)-(E). Defendant has

not yet done so.

       Second, the Government argues that the records are irrelevant. The Court disagrees, and

concludes that medical records tend to make a fact of consequence in determining the action more

or less probable than it would be without the medical records. FRE 401. For the reasons stated

above, the medical records bear on the victim’s alleged intoxication and may be relevant to both

the Defendant’s intent and causation.

       The Government argues that the rapid tests are not reliable and cannot accurately tell

whether a person is intoxicated. At this time, the Court believes that this goes to the weight of the

evidence.

       Finally, the Government argues that the victim has the right “to be treated with fairness

and with respect for her dignity and privacy,” 18 U.S.C. § 3771(a)(8), which should preclude

admission of the medical records at trial.

       This Court has previously noted as follows:

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       In the Tenth Circuit, “[t]here is no dispute that confidential medical information is
       entitled to constitutional privacy protection.” A.L.A. v. W. Valley City, 26 F.3d 989,
       990 (10th Cir. 1994). The Circuit has readily and repeatedly acknowledged that
       “medical records, which may contain intimate facts of a personal nature, are well
       within the ambit of materials entitled to privacy protection, ....” Ortlieb v. Howery,
       74 Fed.Appx. 853, 856 (10th Cir. 2003) (quoting Lankford v. City of Hobart, 27
       F.3d 477, 479 (10th Cir. 1994) ); Livsey v. Salt Lake Cty., 275 F.3d 952, 956 (10th
       Cir. 2001) (“[A]n individual’s expectation of privacy for constitutional purposes is
       legitimate only if the information is highly personal or intimate.” (citation and
       quotation marks omitted) ). Furthermore, the Crime Victims' Rights Act requires
       that victims are treated with fairness, and with respect for their dignity and privacy,
       18 U.S.C. § 3771(a)(8), which are interests also at stake in the disclosure of Jane
       Doe’s medical records.
United States v. Tsethlikai, No. 18-CR-1392-WJ, 2018 WL 3801248, at *2 (D.N.M. Aug. 9, 2018).

The Government has not cited to any case applying this statute to exclude relevant evidence from

trial. The Court does not read the Victims’ Rights Act to prohibit a defendant from putting on

evidence which appears to be relevant to whether the victim caused the accident or whether the

Defendant had the requisite state of mind. Therefore, the Court will not exclude the medical

records on this basis but will allow the parties to propose reasonable measures to treat the victim

fairly and with respect.

III.   Court will reserve ruling on Government’s Eleventh Motion in Limine.

       At the pretrial conference on August 19, 2021, the Court reserved ruling on the

Government’s Eleventh Motion in Limine. Doc. 70. In that motion, the Government seeks to

admit the Defendant’s prior DUI conviction under FRE 404(b). At the September 8, 2021 pretrial

conference, the parties asked for a ruling before trial.

       Evidence of Defendant’s prior criminal acts is admissible if the four requirements set forth

in Huddleston v. United States, 485 U.S. 681 (1988) are met: (1) the evidence is offered for a

proper purpose under Fed. R. Evid. 404(b); (2) the evidence is relevant under Fed. R. Evid. 401;

(3) the probative value of the evidence is not substantially outweighed by its potential for unfair

prejudice; and (4) the district court, upon request, instructs the jury to consider the evidence only

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for the purpose for which it was admitted. See United States v. Tan, 254 F.3d 1204, 1207 (10th

Cir. 2001).

       The Court will continue to reserve ruling on the Government’s Eleventh Motion in Limine

until trial. See Doc. 70. Although the Court believes that the evidence is offered for a proper

purpose under FRE 404(b), it unable to conduct a proper FRE 403 analysis in a vacuum. See United

States v. Tan, 254 F.3d 1204, 1207 (10th Cir. 2001) (listing Huddleston factors, which requires

court to conduct a FRE 403 analysis).

       IT IS SO ORDERED.




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                                            KEA W. RIGGS
                                            UNITED STATES DISTRICT JUDGE




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